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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                      )      CHAPTER 7
                                            )
CHARLES D. MENSER, JR.                      )      Case No. 18-65681
                                            )
                                            )
                                            )
               Debtor.                      )
                                            )

              MOTION FOR 2004 EXAMINATION OF PHYLLIS MENSER

         COMES NOW BC35, LLC (hereinafter “BC35”), a creditor in the above-styled

bankruptcy proceeding, and applies to this Court for an order compelling the attendance of

Phyllis Menser (“P. Menser”) and any other representative of P. Menser with direct knowledge

of any document or information requested herein of which P. Menser does not have knowledge,

to appear at the offices of Rogers Law Offices, 100 Peachtree Street, Suite 1950, Atlanta,

Georgia 30303, for an examination pursuant to Rule 2004 of the Bankruptcy Rules at 10:00 a.m.

on the 7th day of December, 2018, or at some other mutually agreed upon time and place. In

support of this Motion, BC35 shows the Court the following:

         1.    Debtor Charles D. Menser, Jr. filed a voluntary petition with the Court under

Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) on September 19, 2018

(the “Petition Date”).

         2.    Debtor is indebted to BC35 because on June 11, 2018, BC35 obtained a judgment

against the Debtor in that certain case styled as BC35, LLC v. Charles D. Menser, Jr., State

Court of Cobb County, Case No. 17-A-1201-5, on the First Note of unpaid principal in the

amount of %1,152,374.25 and accrued interest in the amount of $134,808.17 through June 11,

2018, plus $128,743.23 in attorney’s fees for a total judgment in the amount of $1,415,925.66 on
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the First Note, and on the Second Note, unpaid principal in the amount of $27,969.05, $3,270.82

in interest and $3,148.98 in attorney’s fees, for a total judgment amount of $34,388.85 on the

Second Note, with interest accruing on the Judgment (the “Judgment”).

       3.      BC35 is a party in interest in this case because it is a creditor of Debtor.

       4.      P. Menser is the spouse of the Debtor.

       5.      Upon information and belief, P. Menser has further knowledge concerning the

Debtor’s (a) assets and liabilities; (b) interests in certain business entities, (c) potential claims

against other parties, (d) property, (e) pre-petition acts and conduct (f) transfers of assets by the

Debtor, or (g) other matters that may affect the administration of the Debtor’s case (the

“Required Information”).

       6.      Bankruptcy Rule 2004(a) provides, in part, that “[o]n motion of any party in

interest, the court may order the examination of any entity.” Fed. R. Bank. P. 2004(a).

       7.      BC35’s proposed 2004 Examination of P. Menser will be within the scope of Rule

2004 in that it will relate to the acts, conduct, or property or to the liabilities and financial

condition of the Debtor, and into any matter which may affect the administration of the Debtor’s

estate or to the Debtor’s right to a discharge.

       8.      The deadline for filing complaints objecting to a discharge of the Debtor is

December 16, 2018.

       9.      A Rule 2004 examination is necessary, inter alia, to determine the nature of

Debtor and the acts, conduct, property, liabilities and financial condition of Debtor, facts directly

affecting administration of Debtor’s estate, or the dischargeability of any of Debtor’s obligations.
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       10.     BC35 requests that this Court enter an order requiring P. Menser to produce at

least five (5) business days prior to the examination all documents identified in the attached

Exhibit “A.”

       11.     BC35 requests that this Court enter an order requiring P. Menser to appear at the

2004 Examination and to testify regarding the matters described in the paragraphs above and

regarding the information contained in the documents identified in the attached Exhibit “A” and

to produce the documents identified in Exhibit “A.”

               WHEREFORE, BC35 respectfully requests that the Motion be granted and that

the Court issue an Order compelling the attendance of Phyllis Menser pursuant to Federal Rules

of Bankruptcy Procedure 2004 and compelling the production of the requested documents

pursuant to applicable Bankruptcy Rules, Standing Orders, 11 U.S.C. § 521(e)-(f).

       This 14th day of November, 2018.

                                            ROGERS LAW OFFICES

                                            /s/ Beth E. Rogers
                                            Beth E. Rogers, Georgia Bar No. 612092
                                            James F. F. Carroll, Georgia Bar No. 940350
                                            The Equitable Building
                                            100 Peachtree Street, Suite 1950
                                            Atlanta, Georgia 30303
                                            770-685-6320 phone
                                            678-990-9959 fax
                                            brogers@berlawoffice.com
                                            Attorneys for BC35, LLC
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                                          EXHIBIT “A”

                                          DEFINITIONS

        1.      “Person” means any natural person, corporation, partnership, proprietorship,

association, governmental entity, agency, group, organization, or group of persons.

        2.      “Menser” or refers to Charles D. Menser, Jr., together with his attorneys, agents

or representatives and any entity in which he holds an interest, direct or indirect.

        3.      “P. Menser” or “you” refers to Phyllis Menser, together with her attorneys, agents

or representatives and any entity in which she holds an interest, direct or indirect.

        4.       “Menser Entities” refers to any of the following entities, or related persons,

together with any other entity in which Menser or any of the Menser Entities hold or held any

interest, direct or indirect:

        Phyllis Menser
        Menser & Company P.C.
        Travel Concepts LLLP
        Lot 710, LLC
        1266 Moores Mill Road, LLC
        Damascus 36, LLLP
        Bibb 185, LLLP
        Archer III, LLLP d/b/a St. Mary’s Hotel, LLC
        Archer I, LLLP
        Lodge Atlanta, LLC
        Archer Augusta LLC
        Carrollton Village LLC
        Campus Quad I LLC
        Campus Quad II & III, LLC
        Carrollton – 54, LLLP
        Menser Family Partnership II, L.P.
        Menser Family Trust
        Highland Systems, Inc.
        Stonewall Capital Partners, LLLP
        St. Mary’s Hotel, LLC
        Archer Properties, LLLP
        Stonewall Capital Partners II, LP
        Highland Payroll Corporation
        Arkansas Waffles, Inc.
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      Lodge America, LLC
      2440 Howell Mill, LLC
      Pascal, Inc.
      The Alamo Corporation
      ETO, LP
      Chambers Technical Services, LLC
      100 Oakmont, LLC
      Hearth & Home Technologies, LLC
      100 Oakmont Partners, LLLP
      ES&G, Inc.
      Progressive Cordele Service Corporation
      Persimmon Creek Home Owners Association, Inc.
      A & M Leasing, Inc.
      Dome Parking Associates, LP
      Tech Partners, LLC
      Archer VII, LLC
      Career Institutes of America, In.c
      M&D Consulting Group, LLC
      Shady Rest, Inc.
      Carrollton Village II, LLC
      P.J. Menser Family Partnership, LLLP
      Wolf Creek Shooting Club, Inc.
      North Atlanta Teen Center, Inc.
      Falcon Hotel, Inc.
      Atlanta Institute of Music, Inc.
      Colorworld International, Inc.
      Education Funding of Georgia, Inc.
      Mayfair I Carrollton Partners, LLLP
      Archer VI, LLLP
      Career Institutes of America/Atlanta, Inc.
      East Pacers Ferry Partners, LLLP
      Gainesville-29 (A Georgia Limited Partnership)
      Auto Masers Elite Services, Inc.
      P.M.R., Inc.
      Archer III LLP
      AC Electrical Contractors, Inc.
      Maynard H. Jackson Foundation, Inc.
      Shady Rest Hotel, Inc.
      Tech Parking Partners, LLC
      BJB Ventures, LLC
      Progressive Service Corporation
      Surplus in Broxton, Inc.
      CWC Manager, INC.
      Antioch Two, LLC
      DPC Management Co. LLC
      Mile Hi. LLC
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       SPC Management Co. LLC
       Campus Walk Carrollton, LLC
       Mcash, LLC
       Newton Partners, LLLP
       A&M Leasing, Inc.
       Quail Ridge Homeowners Association, Inc.
       Campus Quad Carrollton II, LLC
       Building 1600, LLC
       Progressive Housing Foundation, Inc.
       Dome Parking Company
       SADC, LLC
       Stonewall Capital Partners LLLP
       Archer I GP, LLLP
       Little Rock Motors, Inc.
       1879 Manning Mill Farms, LLC
       Archer IV LLLP
       Positive Ventures, Inc.
       Food-Man, Inc.
       The Bluffs Community Association, Inc.
       Southeast Capital Partners, LP
       Business Georgia, Inc.
       Garmon Ferry Partners LP
       Johnson Investments LLLP
       Newton-21, LLLP
       North Atlanta Teen Center, Inc.
       BB-BVI Carrollton, LLC
       Archer I Advisory Committee, LLC


       5.     “4422 Northeast Expressway” refers to that certain real property located 4422

Northeast Expressway, Doraville, Georgia 30340.

       6.     “Burton Property” refers to that certain real property located 994 Burton

Mountain Road, Clarkesville, Georgia 30523.

       7.     “Brookview Property” refers to that certain real property located at 4102

Brookview Drive, SE Atlanta, GA 300339.

       8.     “Cumberland” refers to that certain real property located at 2255 Cumberland

Parkway, Building 1600, Suite 150, Atlanta, GA 30339.
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       9.      “Garmon Ferry Property” refers to that certain real property located at 1401

Garmon Ferry Road, Atlanta, Georgia 30327.

       10.     “Bibb Property” refers to that certain real property described in that Limited

Warranty Deed recorded at Deed Book 10006, Page 254, Clerk of Bibb County Superior Court

records (“Bibb Warranty Deed”).

       11.     “Augusta Property” refers to that certain real property owned by Archer Augusta,

LLC in Richmond County, Georgia, as further described in that certain security deed dated

December 18, 2014, recorded at Deed Book 01467, Page 1402, Superior Court of Richmond

County, Georgia records (collectively, 4422 Northeast Expressway, Burton Property, Brookview

Property, Cumberland, Garmon Ferry Property, Bibb Property and Augusta Property are referred

to herein as the “Menser Properties”).

       12.     “Account Statements” refers to those certain account statements or other itemized

account activity reports, provided by any financial institution, including but not limited to, all

return checks or copies or microfiche-type records of checks and deposits.

       13.     As used herein, the term “Identify” or “Describe” or state the “Identity”:

               (a)     when used in reference to a natural person, shall mean to state his or her

full name, complete home and business address, employer or business affiliation, and occupation

and business position presently held;

               (b)     when used in reference to a corporation, shall mean to state its full name,

its state(s) of incorporation and its principal place of business;

               (c)     when used in reference to a partnership, shall mean to state its full name,

the names of each partner, and its principal place of business;
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               (d)     when used in reference to a person other than an individual, corporation or

partnership, shall mean to state its official name, its organizational form, and its address;

               (e)     when used in reference to an act, action or omission shall mean to state a

description of the act, action or omission, the date(s) on which it occurred, where it occurred, the

identity of the person or persons performing said act (or, in the case of an omission, the person or

persons failing to act), the identity of all persons who have knowledge, information or belief

about the act, when the act or omission first became known to you , and the circumstances and

manner in which you first obtained such knowledge;

               (f)     when used in reference to an oral communication shall mean to state the

date and nature of the communication, the identity of the communicator and communicate, the

subject matter and substance of the communication, whether it was recorded or otherwise

memorialized, and the identity of any witness thereto;

               (g)     when used in reference to a document, shall mean to state the identity of

the person(s) who prepared the document, the sender and recipient(s), if any, the title or a

description of the general nature of its subject matter, the day of preparation, the location(s) of

each copy and the identity of the present custodian(s), the contents of the document verbatim,

and if a privilege is claimed, the specific basis thereof.

       14.     As used herein, the term “Document” is used in its broadest sense and includes,

without limitation, all items printed, recorded, filmed, reproduced by any process, written or

produced by hand, whether an original master or copy, all agreements, communications,

correspondence, notes, memoranda, summaries and minutes; records of telephone conversations,

meetings and conferences; summaries and records of personal conversations or interviews;

books; manuals; publications and diaries; contracts; agreements; deeds, assignments, working
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papers; books of account; ledger books, note books; vouchers; bank checks; cashier's checks'

receipts for cashier's checks; cancelled check stubs; bills; receipts; and any other information

containing paper, writing or physical thing.

       15.     The singular, plural, masculine, feminine, or neuter form of any noun or pronoun

shall be read and be applied as including its other forms, as circumstances may make

appropriate.

       16.     As used herein, the terms “and” and “or” shall mean and/or.

       17.     As used herein, the term “date” shall mean the exact day, month and year, if

ascertainable, or, if not, the best approximation, including relationship to other events.

                                   DOCUMENT REQUESTS

       1.      All documents relating to any assets that Menser and/or the Menser Entities

currently have or have had any interest in, including any personal property, bank accounts,

accounts, real property, motor vehicles, or any other assets, and including, but not limited to, any

transfers thereof, for the period commencing March 8, 2008 to the present.

       2.      Any and all records, documents, memoranda and correspondence of all accounts,

including but not limited to, monthly bank statements, canceled checks and deposit slips, for all

accounts including checking and savings accounts with any banks, savings and loans, credit

unions, money markets, brokerage firms or other financial institutions maintained by Menser

and/or the Menser Entities, either individually and/or jointly with any other person or entity, for

the period commencing March 8, 2008 to the present.

       3.      Copies of monthly statements for each month of the past twelve (12) months

showing charges and credits to Visa, MasterCard, American Express or other similar credit card

issued to Menser and/or the Menser Entities.
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       4.      Any and all records, documents, memoranda and correspondence relating to

evidence of property, and/or interest in property, of every kind and character whatsoever owned

by Menser and/or the Menser Entities, individually or with any other person or entity, including

but not limited to, any reversionary interests, deeds, stock certificates, bonds, notes, mutual fund

shares, corporate agreements, partnership agreements, profit sharing and pension plan

statements, savings account passbooks, savings certificates and money market accounts for the

period commencing March 8, 2008 to the present.

       5.      Any and all warranty deeds, quitclaim deeds and deeds to secure debt which name

Menser and/or the Menser Entities as grantee or grantor, individually and/or jointly with any

other person or entity, relating to real property in which Menser and/or the Menser Entities have,

or had, any interest or equity for the period of March 8, 2008 to the present.

       6.      Any and all documents relating to the transfer of any real property owned by

Menser and/or the Menser Entities to anyone during the period of March 8, 2008 to the present.

       7.      Any and all documents relating to the transfer of any personal property owned by

Menser and/or the Menser Entities to anyone during the period of March 8, 2008 to the present.

       8.      All documents relating to threats of litigation or the prosecution of litigation

against Menser and/or the Menser Entities during the period of March 8, 2008 to the present.

       9.      All documents relating to debts incurred by Menser and/or the Menser Entities

during the period of March 8, 2008 to the present, including but not limited to Promissory Notes,

Loans, or any other documents evidencing indebtedness.

       10.     All documents relating to any payments to any lienholders on property in which

Menser and/or the Menser Entities have, or had, any interest or equity for the period
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commencing March 8, 2008 to present, including but not limited to, cancelled checks, receipts,

account statements or any other documents.

       11.     All documents relating to any payments to Menser and/or the Menser Entities

related to any real property in which Menser and/or the Menser Entities have or had an interest,

including but not limited to, cancelled checks, receipts, account statements or any other

documents.

       12.     Any and all records, documents, memoranda and correspondence, which evidence

or relate to the ownership of any motor vehicles by Menser and/or the Menser Entities, including

but not limited to, automobile tag registrations, certificates, automobile title certificates and/or

recreational vehicle tag registrations, titles or certificates, naming Menser and/or the Menser

Entities, individually or jointly with any other person or entity, for the period March 8, 2008 to

the present.

       13.     Any and all records, documents, memoranda and correspondence which reflect or

relate to registrations, certificates or other evidence of ownership of any boats or aircraft in

which Menser and/or the Menser Entities have, or had, any interest for the period commencing

March 8, 2008 to the present.

       14.     Any and all records, documents, memoranda, correspondence, stock certificates,

bond certificates, mutual fund certificates and any other evidence of ownership of any interest in

any corporation, partnerships, limited liability companies, fund, or trust fund, in which Menser

and/or the Menser Entities holds any interest, individually or jointly with any other person or

entity, for the period commencing March 8, 2008 to the present.
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       15.     A list of all contents of any and all safe deposit boxes maintained by Menser

and/or the Menser Entities, individually or jointly, with any other person or entity, as of the date

of service of this notice and exact location of such boxes.

       16.     Any and all records, documents, memoranda and correspondence relating to any

financial statements or net worth statements submitted by Menser and/or the Menser Entities to

any bank, lending institution or any other entity for the period commencing March 8, 2008 to the

present.

       17.     Any and all records, documents, memoranda and correspondence received by

Menser and/or the Menser Entities during the past five years from any real estate agent, attorney,

accountant or other person whatsoever, notifying Menser and/or the Menser Entities of the value

of Menser and/or the Menser Entities’ interest in any corporation, trust, reversionary interest,

estate or any property whatsoever or wherever located, whether real or personal.

       18.     Any and all life insurance policies, certificates on the life of any person, and all

statements or other documents reflecting cash and surrender values, and the balance of any and

all loans paid in connection therewith, where Menser and/or the Menser Entities are named as a

beneficiary or loss payee for the period commencing March 8, 2008 to the present.

       19.     Any and all statements, documents, analyses, invoices, bills or summaries given

to Menser and/or the Menser Entities by any stock broker or association of stock brokers, from

whom Menser and/or the Menser Entities have bought stock or to whom Menser and/or the

Menser Entities have sold stock, or with whom Menser and/or the Menser Entities have an

account, for the period commencing March 8, 2008 to the present.
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       20.     Any and all documents, contracts, or proposed contracts relating to the sale or

purchase of any property, goods or services by Menser and/or the Menser Entities for the period

commencing March 8, 2008 to the present.

       21.     Any and all documents, contracts or agreements relating to engaging Menser

and/or the Menser Entities for personal services, including employment contracts, independent

contractor agreements or consulting agreements for the period commencing March 8, 2008 to the

present.

       22.     Copies of any real estate tax bills, notices or assessments received by Menser

and/or the Menser Entities for the period commencing March 8, 2008 to the present.

       23.     Any and all records, documents, memoranda and correspondence relating to

Menser and/or the Menser Entities’ financial affairs, including but not limited to Menser and/or

the Menser Entities’ profit and loss statements, financial statements, account ledgers and balance

sheets, for the period commencing March 8, 2008 to the present.

       24.     Any and all records, documents, memoranda and correspondence relating to the

financial affairs of any corporations or entities in which Menser and/or the Menser Entities have

an ownership interest, including but not limited to, profit and loss statements, financial

statements, account ledgers and balance sheets of such entity, for the period commencing March

8, 2008 to the present.

       25.     Any and all bonds, coupons, notes, certificates of deposit, or other securities,

instruments or choses in action owned by Menser and/or the Menser Entities, individually or

jointly with any other person or entity for the period commencing March 8, 2008 to the present.

       26.     Any and all copies of income tax returns, corporate tax returns, sales and use tax

returns and/or intangible tax returns filed by Menser and/or the Menser Entities, individually or
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jointly with any other person or entity with the federal, state or municipal governments, for the

period commencing March 8, 2008 to the present.

       27.     Any and all records, documents, memoranda and correspondence which relate to

any assets owned, controlled or possessed by Menser and/or the Menser Entities for the period

commencing March 8, 2008 to the present.

       28.     Any and all records, documents, memoranda, correspondence, deeds, agreements,

contracts or invoices relating to the purchase, sale, mortgage, encumbrance or transfer of any

assets owned, controlled or possessed by Menser and/or the Menser Entities for the period March

8, 2008 to the present.

       29.     Any and all records, documents, memoranda, correspondence, deeds, agreements,

contracts or invoices pertaining to a leasehold or ownership interest in any real property currently

held or previously held by Menser and/or the Menser Entities.

       30.     All rent rolls, leases and copies of rent checks relating to any real properties

owned by Menser and/or the Menser Entities from March 8, 2008 to the present.

       31.     All documents evidencing Menser and/or the Menser Entities’ current monthly

income and expenses.

       32.     All documents evidencing the value of any personal property or assets owned by

Menser and/or the Menser Entities having a value of over $500.

       33.     All documents relating to the transfer of any personal property or assets owned by

Menser and/or the Menser Entities to any other person or entity having a value of over $500

from March 8, 2008 to the present.

       34.     All documents relating to the transfer of any of Menser and/or the Menser

Entities’ interest in Menser and/or the Menser Entities’ predecessor and/or successor entities.
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       35.     All documents relating to any debts owed to Menser and/or the Menser Entities.

       36.     All documents relating to the income received by Menser and/or the Menser

Entities from any source from March 8, 2008 to present.

       37.     All documents related to any monies, remuneration or any other benefit paid,

given, transferred or owed by You, the Menser Entities or any other person to Menser and/or the

Menser Entities from March 8, 2008 to present, including, but not limited to, any real estate

commissions.

       38.     All documents related to Menser and/or the Menser Entities’ organizational

structure, including, but not limited to, Menser and/or the Menser Entities’ predecessors,

successors, shareholders, members, officers, and employees of those entities, and any other

names or entities under which Menser and/or the Menser Entities have operated business.

       39.     All documents related to the roles and duties of Menser and/or the Menser

Entities’ officers and employees.

       40.     All documents related to or evidencing the period of time during which Menser

and/or the Menser Entities, Menser and/or the Menser Entities’ predecessors, and successors

were operating and when they discontinued operations.

       41.     All documents relating to Menser and/or the Menser Entities’ assets or income,

including, but not limited to, balance sheets, profit and loss statements, tax returns, and other

financial statements from March 8, 2008 to the present.

       42.     All documents relating to any assets that Menser and/or the Menser Entities,

currently have or have had any interest in, including any personal property, bank accounts,

accounts, real property, motor vehicles, or any other assets, and including, but not limited to, any

transfers thereof, for the period commencing March 8, 2008 to the present.
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       43.     All documents relating to any bills or expenses of Menser paid by any other

person for Menser’s benefit, including, but not limited to, the source of any funds used by

Menser or any other person to pay any bills or expenses of Menser.

       44.     All documents relating to any tax refunds received by Menser or the Menser

Entities, including the deposit of same, for the period commencing March 8, 2008 to the present.

       45.     Any other documents related to the assets or financial condition of Menser and/or

the Menser Entities.

       46.     All documents relating to any of the Menser Properties, including, but not limited

to any and all transfers of the Menser Properties.
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                       )      CHAPTER 7
                                             )
CHARLES D. MENSER, JR.                       )      Case No. 18-65681
                                             )
                                             )
                                             )
                Debtor.                      )
                                             )


                                   CERTIFICATE OF SERVICE

         I hereby certify that I have this date served a true and correct copy of the within and

foregoing Motion for 2004 Exam of Phyllis Menser upon the following by ECF and/or having

a copy of same placed in the United States Mail with adequate postage thereon and properly

addressed as follows:

Edward F. Danowitz
Danowitz Legal, P.C.
300 Galleria Parkway SE
Suite 960
Atlanta, GA 30339-5949
Attorney for Debtor

Phyllis Menser
4102 Brookview Drive
Atlanta, GA 30339

US Trustee
Office of the United States Trustee
362 Richard Russell Building
75 Spring Street, SW
Atlanta, GA 30303

Edwin K. Palmer
P.O. Box 1284
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Decatur, GA 30031



      This 14th day of November, 2018.


                                             __/s/ Beth. E. Rogers_____
                                             Beth E. Rogers
